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                          UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO       DIVISION


  IN RE:
   KrisJenn Ranch, LLC, Series Uvalde Ranch         CASE NO.             20-51083-RBK
                                                    CHAPTER 11

  PROCEEDING MEMO - §341 MEETING ON                 7/13/20       , AT     9:30       a.m.

  1.    Disclosure statement filed by attorney for debtor pursuant to 11 U.S.C. § 329 and
        Bankruptcy Rule 2016(b): YES

  2.    Debtor(s) appeared:    YES

  3.    Counsel for debtor(s) appeared: YES

  4.    Meeting adjourned to                              , at              a.m.

        OR

        Meeting concluded: YES

  5.    Notes of Presiding Officer:

         - amend petition
         - amend Schedule D




  DATE PETITION FILED:          4/27/20
  BAR DATE:         10/13/20
  PLUS 120 DAYS:             8/25/20

  CREDITORS' COMMITTEE FORMED: NO                   NOTICE OF APPOINTMENT FILED:
                                                            Yes




                                                    /s/ Shane P. Tobin
                                                                  Presiding Officer



                                                                                      REV 7/1/2003
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     7/13/20
U. S. Trustee Notes to §341 Meeting
KrisJenn Ranch, LLC, Series Uvalde Ranch      Case No. 20-51083-RBK
